Case 1:18-cv-11926-PBS Document 46-7 Filed 01/07/20 Page 1 of 4

To: Finnell, Jeffrey B.[FINNELLJ@SEC.GOV]; Rosado-Desilets,
Virginia[RosadoDesilets V@SEC.GOV]

From: Friestad, Scott

Sent: Thur 5/21/2015 1:39:55 PM

Importance: Normal

Subject: FW: New Matter

FYI.

From: Bondi, Bradley J. [mailto:bbondi@cahill.com]
Sent: Thursday, May 21, 2015 1:18 PM

To: Friestad, Scott

Subject: Re: New Matter

Thanks Scott. That works for us. We will send over a binder of materials several days
in advance.

Best regards,

Brad

On May 21, 2015, at 1:07 PM, Friestad, Scott <FriestadS@SEC.GOV> wrote:

Let’s shoot for mid-morning on Monday, June 8 — how about 10:30? Also, do you
have any materials that you can send over for folks to review beforehand?

Scott

SEC-SEC-E-0000892
Subject to Protective Order in D. Mass. Case No. 18-cv-11926-PBS EPROD-SEC-LIT-E-001189144
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From: Bondi, Bradley J. [mailto:bbondi@cahill.com]
Sent: Wednesday, May 20, 2015 9:16 AM

To: Friestad, Scott

Subject: Re: New Matter

Confidential Treatment Requested Under FOIA

Scott,

Following up on our emails below, we represent Ligand Pharmaceuticals.
Ligand has been the victim — and continues to be the victim — of an
aggressive and recently renewed attack by a short-seller named Emmanuel
Lemelson, his firm Lemelson Capital Management and his fund, the Amvona
Fund. Through “reports”, press interviews and multi-media outlets, Lemelson
has disseminated statements about Ligand — while he has been shorting the
stock — that are demonstrably false and which have had statistically significant
impacts on the price of the stock. Mr. Lemelson self-reportedly made a
substantial amount of money from his efforts, and he has restarted his attacks
in the last few weeks. There are many similarities with the Paul Berliner
enforcement case.

While Ligand and its prior counsel have had some contact with the
Enforcement Staff (through the Boston office and the Office of Whistleblower
Protection) in the past concerning Lemelson, we wish to discuss new conduct
by Lemelson since those meetings. In addition, those meetings did not
include economic analysis which since has been conducted using forensic
economists, and we also have new facts to share. In other words, we are not
intending to repeat information previously shared with Staff, and this meeting
will include new conduct that previously has not been reported.

How is your and your team’s availability to meet on Monday, June

SEC-SEC-E-0000893
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8 or Tuesday, June 9 in Washington to hear a presentation of the evidence
and analysis? In attendance will be myself and two colleagues from Cahill,
Economist Dr. Jim Overhahl, and senior management of Ligand (likely the
CEO, President, and General Counsel). We anticipate the meeting will last
approximately two hours.

Thank you in advance for your time and attention to this matter.

Best regards,

Brad Bondi

On May 18, 2015, at 9:47 AM, Friestad, Scott <FriestadS@SEC.GOV> wrote:

Okay, thanks. Sounds good.

From: Bondi, Bradley J. [mailto:bbondi@cahill.com]
Sent: Monday, May 18, 2015 9:30 AM

To: Friestad, Scott

Subject: Re: New Matter

Yes. We're hoping to schedule a meeting soon with you. We're finalizing
our analyses.

SEC-SEC-E-0000894
Subject to Protective Order in D. Mass. Case No. 18-cv-11926-PBS EPROD-SEC-LIT-E-001189146
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m: +1.703.731.8864 | bbondi@cahill.com

On May 18, 2015, at 9:25 AM, Friestad, Scott <FriestadS@SEC.GOV>
wrote:

Are you still working on the referral that you mentioned to me several
weeks ago? As | recall, it concerned potential misconduct involving a
false rumor, sort of like the Berliner case.

Scott

keke ke Keke ee ERK eK Ke KR Ke

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then delete this email from your system. Thank you.

SEC-SEC-E-0000895
Subject to Protective Order in D. Mass. Case No. 18-cv-11926-PBS EPROD-SEC-LIT-E-001189147
